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                 IN THE UNITED STATES BANKRUPTCY COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA
In re:                                 :
                                       : Case No.: 22-13328
Jason Michael Boychuck                 : Chapter 13
                                       : Judge Ashely M. Chan
                          Debtor(s)    : ******************
                                       :
PNC Bank, National Association         : Date and Time of Hearing
                          Movant,      : July 19, 2023 at 11:00 a.m.
       vs                              :
                                       : Place of Hearing
Jason Michael Boychuck                 : U.S. Bankruptcy Court
Aimee Boychuck                         : 900 Market Street, Suite 400, Courtroom #4
Scott F. Waterman                      : Philadelphia, PA, 19107
                          Respondents. :
                                         Related Document # 25

                                      ORDER OF COURT

       AND NOW, to wit, this           day of                            , 2023, upon
consideration of the foregoing Stipulation for Settlement of Creditor's Motion for Relief from the
Automatic Stay, it is hereby ORDERED, ADJUDGED AND DECREED that:

1.     The terms of the foregoing Stipulation are hereby approved in their entirety and
incorporated herein as part of this Order.

2.      Pursuant to the Stipulation, Creditor is entitled to relief from the automatic stay upon
default of Debtor, subject to the terms of the Stipulation.

                                                  By the Court:


 Date: June 27, 2023
                                                  ASHELY M. CHAN, JUDGE
                                                  UNITED STATES BANKRUPTCY COURT

CC:
  Adam B. Hall, Attorney for Creditor, Manley Deas Kochalski LLC, P.O. Box 165028,
  Columbus, OH 43216-5028 (notified by ecf)

   Office of U.S. Trustee, Party of Interest, (Registered address)@usdoj.gov (notified by ecf)

   Scott F. Waterman, Chapter 13 Trustee, 2901 St. Lawrence Ave., Suite 100, Reading, PA
   19606, ECFMail@ReadingCh13.com (notified by ecf)


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  Brad J. Sadek, Attorney for Debtor and/or Co-Debtor, 1500 JFK Boulevard, Ste 220,
  Philadelphia, PA 19102, brad@sadeklaw.com (notified by ecf)

  Jason Michael Boychuck and Aimee Boychuck, Debtor and/or Co-Debtor, 670 Doe Court,
  Limerick, PA 19468 (notified by regular US Mail)

  CamCo Home Owners Association, Party of Interest, 501 W Office Center Drive, Fort
  Washington, PA 19034 (notified by regular US Mail)

  Wilmington Saving Funds Society, Party of Interest, 300 Delaware Avenue Suite 714,
  Wilmington, DE 19801 (notified by regular US Mail)




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